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                $
                 TIP

                       0     Mississippi Depar+men+ oc   Child Pro+ecilon Services

                                 The State of Mississippi
                                    Phil Bryant, Governor
                           Dr. David A. Chandler, Commissioner
                                     www.mdcps.ms.gov




To:     Joey Songy
        Office ofthe Governor

        Brian Pugh
        Office ofthe Governor

From: Takesha Darby,Deputy Commissioner
      MDCPS Financial Services

 Re:    SFY2018 Budget Justification

Date: July 27,2016


The Mississippi Department of Child Protection Services (MDCPS) is requesting an
increase of $26,688,379 in appropriations for the SFY2018 Budget Request; of which,
$16,656,135 is being requested in State funding and the remaining balance of
$10,032,244 will be anticipated federal funding.

 MDCPS is requesting an additional 256 full-time positions to accommodate the
 remaining number of case workers for frontline, adoption and licensure based upon the
 certified caseload audit conducted after the SFY2017 Budget Request was submitted
 earlier this year. An additional 131 positions are being requested to provide additional
 administrative support as part of the transition plan to develop a new Accounting
 Department, Internal Audit & Control Department, Investigations Department and
 Information Technology Department separate from Mississippi Department of Human
 Services.

 This request also includes additional funding for the CCWIS (formerly known as
 SACWIS)Project. The agency has chosen to utilize the agile approach which allows the
 team to build one modular component of the system at a time and interface it with the
 current system. The impact of this change will result in reducing the costs and timeframe
 for building a replacement system.

 Attached is a copy of the detailed request which identifies more specifically what the
 agency is requesting and the costs.

 Should you need more information, please feel free to contact me.

                                                                                          EXHIBIT
                     P.O. Box 346 660 North Street • Jackson, MS 39205                        1._00"
                       P:(601)359-4368 E: contactus@mdcps.ms.gov
                                                                   Mississippi Department of Human Services
                                                                                  Division of Family and Children's Services
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                                                                                  Fiscal Year 2018 Budget Request Information
                                                                                                              B                       C                         D
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                                                                                  Administrative                                                            Prevention/       Total Increase/Decrease    FY 2018 Budget
                             Line Item                FY 2017 Appropriation          Support               Adoption               Foster Care               Protection               Requested              Request
                             Salaries                 $       91,945,533 $              6,678,027            2,898,195 $              5,410,130 $                454,036 $               15,440,388 $        107,385,921
                             Travel                   $        7,557,100 $                152,064 $            388,800 $              1,235,088                     1,620 $               1,777,572 $          9,334,672
                             Contractual              $       61,848,968 $              6,115,955                     -       $                 -       $             -       $           6,115,955 $         67,964,923
                             Commodities              $        1,110,300 $                342,250 $               15,000 $                49,000 $                  1,500 $                 407,750 $          1,518,050
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                             Other than Equipment     $                       $                -       $              -       $                 -       $             -       $                          $           -
                             Equipment                $        3,988,350 $              2,229,634 $            170,160 $                  538,720 $                 8,200 $               2,946,714 $          6,935,064
                             Vehicles                 $           85,277 $                     -       $                      $                 -       $             -       $                  -       $        85,277
                             Wireless Communication   $             5,000 $                            $              -       $                 -       $             -       $                  -       $         5,000
                             SL&G                     $      147,405,069 $                     -       $              -       $                         $             -       $                  -       $   147,405,069
                             Total                    $      313,945,597 $            15,517,930 $           3,472,155 $              7,232,938 $                465,356 $               26,688,379          340,633,976
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                             General                  $       98,859,400 $             11,172,910 $          1,701,356 $              3,688,799 $                   93,071 $             16,656,135 $        115,515,535
                             Capital Expense          $       13,436,099 $                             $              -       $                 -       $             -       $                  -       $    13,436,099
                             Special                  $      201,650,098 $              4,345,020 $          1,770,799 $              3,544,140 $                372,285 $               10,032,244 $        211,682,342
                             Total                    $      313,945,597 $            15,517,930 $           3,472,155 $              7,232,938 $                465,356 $               26,688,379 $        340,633,976
                                                                                      72/28                 49/51                   51/49                     20180                   48152
                             State/Federal %
                             . ...—
                             Full Time/Perm                         1,536                          0                      0                         0                     0                          0             1,536
                             Full Timeri-L                            417                      125                    60                        196                       6                      387                804
                             Part Time/Perm                             0                          0                      0                         0                     0                          0                   0
                             Part Time/T-L                              0                          0                      0                         0                     0                          0                   0
                             Total                                  1,953                     125                     60                        196                       6                      387               2,340
                                                                          SFY2018 BUDGET REQUEST
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                 Position                  # ofPINS Starting         Fringe            Total          Estimated            Total
                                                                                                                                            Division             Department
                   Title                    Needed     Salary        Benefits       Compensation       Mileage          Est. Travel
Family Protection Specialist                     100 $ 29,139    $   10,781.33    $      1,107,271      1,200,000   $         648,000 Child Welfare        Field Operations
Family Protection Specialist, Senior              60 $ 35,258    $    13,045.40   $      2,898,195        720,000   $         388,800 Child Welfare        Field Operations
Area Social Worker Supervisor                     33 $ 42,662    $    15,784.94   $      1,928,749        198,000   $         106,920 Child Welfare        Field Operations
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Case Aides                                        30 $ 20,924    $     7,741.88   $        859,976       720,000    $         388,800 Child Welfare        Field Operations
Administrative Assistant IV                       21 $ 25,391    $     9,394.67   $        730,499         25,200   $          13,608 Child Welfare        Field Operations
Social Services Supervisor                        10 $ 46,928    $    17,363.36   $        642,914        120,000   $          64,800 Child Welfare        Field Operations
Business Systems Analyst II                         2 $ 51,358   $    19,002.46   $        140,721         24.000   $          12,960 Child Welfare        Data Analysis
                                                                                                                         ,
                                                                                                                         t
   T                     AU'                     2,16                             ...       0 26'
                                                                                            -               7 200        *                        ,',dc
                                                                                                                                                           Policy/ Contracts/
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 Office Director II                               5 $ 63,408 $ 23,461.09 $                 434,347         2,500 $              1,350 Administration       Prev&Prot/ Training/
                                                                                                                                                           Resources
Administrator, Deputy                              1 $ 67,408 $ 24,940.95 $                 92,349           500 $               270 Administration        Human Resources
                                                                                                                                                           3 Eligibility/       3
Projects Officer IV, Special                      6 $ 36,177 $ 13,385.35 $                 297,372           -      $             -   Administration
                                                                                                                                                           Policy
                                                                                                                                                           2 Contracts/ 1 Training/
Bureau Director II                                9 $ 53,601 $ 19,832.34 $                 660,899         4,500 $             2,430 Administration        5 Prev&Prot/ 1
                                                                                                                                                           Eligibility
                                                                                                                                 540 Administration        Human Resources
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Communication Specialist                          1 $ 33,375     $ 12,348.75 $              45,724         1,000    $
Program Manager                                   2 $ 34,698     $ 12,838.08 $              95,071         1,000    $            540 Administration        Training
Family Protection Training Coordinator            6 $ 42,662     $ 15,784.94 $             350,682        36,000    $          19,440 Administration       Training
Family Protection Training Director               1 $ 48,963     $ 18,116.13 $              67,079         1,000    $             540 Administration       Training
Reclass - Prog Spec to POIV                       6 $ 8,561      $ 2,054.66 $               63,694                  $             -   Administration       Eligibility
Reclass - DDI to DDE                              1 $ 3,900      $    935.98 $               4,836           -      $                 Administration       ?
Reclass - Prog Spec to Personnel Offc II          2 $ 1,470      $    352.79 $               3,646           -      $             -   Administration       Human Resources
Reclass - POIH to Personnel Offc III              I $ 1,684      $    404.17 $               2,088           -      $                 Administration       Human Resources
Reclass - POW to Personnel Offc V                 2 $ 2,428      $    582.70. $              6,021           -      $             -   Administration       Human Resources
Accounting/Auditing Division Director             2 $ 56,972     $ 21,079.73 $             156,104           200    $             108 Financial Services   Accounting & Payroll
                                                                                                                                                           Analysis, Research &
Senior Business Systems Analyst                    1 $ 55,274 $ 20,451.51 $                 75,726           300 $               162 Financial Services
                                                                                                                                                           Statistics
FINANCIAL WORKSHEET                                                               Salaries & Travel                                                                        JULY 2016
                                                          SFY2018 BUDGET REQUEST
                                                                                                                             Accounting & Payroll/
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 Accounting & Finance Director        4 $ 48,133 $ 17,809.12 $            263,767     1,500 $      810 Financial Services    County Funds Mgmt/
                                                                                                                             Internal Audit & Control
                                                                                                                             Accounting & Payroll/
Division Director II                  2 $ 45,155 $ 16,707.32 $            123,724            $          Financial Services
                                                                                                                             Internal Audit & Control
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                                                                                                                             Analysis, Research &
 Accounting Specialist Senior         3 $ 40,732 $ 15,070.72 $            167,407     1,500 $      810 Financial Services
                                                                                                                             Statistics
                                                                                                                             Analysis, Research &
Accountant/Auditor II,Professional    2 $ 39,939 $ 14,777.43 $            109,433      -     $      -   Financial Services
                                                                                                                             Statistics
                                                                                                                             County Funds
Financial Coordinator                  3 $ 38,126 $ 14,106.56 $           156,697      300 $        162 Financial Services
                                                                                                                             Management
                                                                                                                             Accounting & Payroll/
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                                                                                                                             Analysis, Research &
 OP/MGMT Analyst Principal            4 $ 37,527 $ 13,884.82 $            205,645    48,000 $    25,920 Financial Services
                                                                                                                             Statistics/ State Funds
                                                                                                                             Mgmt
                                                                                                                             Accounting & Payroll/
 Accountant/Auditor I, Professional   25 $ 36,300 $ 13,431.00 $          1,243,275   96,000 $    51,840 Financial Services   State Funds Mgmt/
                                                                                                                             Internal Audit & Control
                                      4 $ 35,782 $ 13,239.42 $            196,087    48,000 $    25,920 Financial Services   Internal Audit& Control
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MDCPS Investigator
                                                                                                                             Accounting & Payroll/
OP/MGMT Analyst Senior                2 $ 31,422 $ 11,626.05 $             86,096      -     $      -   Financial Services
                                                                                                                             State Funds Mgmt
 Analyst, Records                      1 $ 27,309 $ 10,104.21 $            37,413      -     $      -   Financial Services Accounting & Payroll
 OP/MGMT Analyst                       1 $ 27,277 $ 10,092.36 $            37,369      -     $          Financial Services Accounting & Payroll
                                                                                                                             15 County / 8 State
 Accounting/Auditing Technician       23 $ 22,402 $   8,288.74 $          705,887    2,300 $      1,242 Financial Services
                                                                                                                             Office
Senior Network Specialist             2 $ 53,937   $ 19,956.82   $        147,788    6,000   $    3,240 Information Technok IT
Lead Systems Administrator            I $ 51,359   $ 19,002.79   $         70,362    3,000   $    1,620 Information Technok IT
Senior Systems Administrator          2 $ 41,164   $ 15,230.73   $        112,790    3,000   $    1,620 Infatuation TechnoliIT
Business Systems Analyst I            8 $ 41,164   $ 15,230.73   $        451,159    6,000   $    3,240 Information Technok 2IT/ 6 CCWIS
Lead Programmer Analyst               2 $ 55,274   $ 20,451.51   $        151,452    3,000   $    1,620 Information Technok CCWIS
Senior Programmer Analyst             1 $ 51,359   $ 19,002.79   $         70,362    3,000   $    1,620 Information Techn oh CCWIS
FINANCIAL WORKSHEET                                              Salaries & Travel                                                           JULY 2016
                                                                               SFY2018 BUDGET REQUEST
Database Administrator                                2 $ 55,274 $ 20,451.51 $                  151,452           3,000 $            1,620 Information Technolc CCWIS
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Senior Business Systems Analyst                       1 $ 55,274 $ 20,451.51 $                   75,726           3,000 $            1,620 Information Technol CQI
Family Protection Specialist, Advanced                4 $ 38,784 $ 14,349.94 $                  212,534          10,000 $            5,400 Information Technoli CQI
                                                                                                         P       '10,13            ''"t .1011,44,                1r          ,,     4
110*U '                      s4 TRAVEL             ', AT                      ' '1,11;;;     J,$,440,48l I     29l,OI     S      1,777;572                                   .2:        :AN:qiiii.
                                                                                                                          $      1,623,888
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Child Welfare                                      256                                 $      8,308,326
Administration                                      31                                 $      2,123,808                             25,110
Financial Services                                  77                                 $      3,564,631                            106,974
Information Technology                              23                                        1,443,624                             21,600
                                                   387                                 $     15,440,388                   $      1,777,572
**The Administration Division is requesting 31 new positions, reclassifying 1 position and reallocating 11 positions. Therefore, 12 positions have been removed from the total count ofall PI
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for the Divison ofAdministration.
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FINANCIAL WORKSHEET                                                                    Salaries &Travel                                                                            JULY 2016
                                                                                   SFY2018 BUDGET REQUEST
                                         Description of Services       Amount                Division          Department
                             Pre-Service/Ongoing Trainings              2,000,000 Administration                 Training       Recurring
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                             Licensure Exam Fees                           75,000 Administration                 Training       Recurring
                             Education Stipends                           300,000 Administration                 Training       Recurring
                             County Bookkeeping Software                  350,000 Financial Services        County Funds Mgmt   One-Time
                             Treehouse                                    115,000 Information Technology            IT          Recurring
                             Data/Cabling                                  75,000 Information Technology            IT          One-Time
                             Hardware Support                              20,000 Information Technology            IT          Recurring
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                             Microsoft Enterprise Software Renewal        164,480 Information Technology            IT          Recurring
                             Citrix License & Maintenance Renewal         120,000 Information Technology            IT          Recurring
                             Bomgard Maintenance & Support                  6,500 Information Technology            IT          Recurring
                             Access Control Maintenance                     2,100 Information Technology            IT          Recurring
                             Absolute Maintenane Renewal                   50,000 Information Technology            IT          Recurring
                             Virus Protection Software Renewal             30,000 Information Technology            IT          Recurring
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                             Cisco Equipment Maintenance Renewal          300,000 Information Technology            IT          Recurring
                             Encryption Software Renewal                   30,000 Information Technology            IT          Recurring
                             Helpdesk Software Renewal                      7,000 Information Technology            IT          Recurring
                             Document Imaging Software                    300,000 Information Technology            IT          One-Time
                             Miscellaneous Software                       300,000 Information Technology            IT          One-Time
                             Miscellaneous Software Renewal                85,000 Information Technology            IT          Recurring
                             Performance Analyst                           73,125 Information Technology          CCWIS         Recurring
                                                                                                                  CCWIS         Recurring
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                             Agile Coach                                   87,750 Information Technology
                             Training Services Vendor                     250,000 Information Technology          CCWIS         Recurring
                             Document Management Vendor                   625,000 Information Technology          CCWIS         Recurring
                             DDI Vendor(above 117 request)                750,000 Information Technology          CCWIS         One-Time
                                                                        6,115,955
                                                                     CONTRACTUAL
                                                                               SFY2018 BUDGET REQUEST
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                                              Description of Services           Amount             Division           Department
                             $250 * 256 new staff                              $ 64,000 Child Welfare
                             $250 * 43 new staff                               $ 10,750 Ad ministration
                             $250 * 77 new staff                               $ 19,250 Financial Services
                             $250 * 11 new staff                               $ 2,750 I nformation Technology    CCWIS
                             $250 * 5 new staff                                $ 1,250 I nformation Technology    CQI
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                             $250 * 7 new staff                                $ 1,750 I nformation Technology    IT
                             Docking Station & Accessories($350 * 300 staff)   $ 105,000 Information Technology   IT
                             Patch Cables ($8.00 * 1,000 qty)                  $ 8,000 Information Technology     IT
                             Connectors ($15.00 * 1,000 qty)                   $ 15,000 Information Technology    IT
                             Network Cards($900 * 50 qty)                      $ 45,000 Information Technology    IT
                             Dual Monitor Cards($60 * 2,000 qty)               $ 120,000 Information Technology   IT
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                             Keyboard & Mouse ($30.00 * 500 qty)               $ 15,000 Information Technology    IT
                                                                               $ 407,750
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                                                                               COMMODITIES
                                                                                  SFY2018 BUDGET REQUEST
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                                      Description of Services          Amount               Division       Department
                             Tablets($1036 * 205 qty)                $   212,380 Child Welfare                          One-Time
                             Wyse Terminals($700 * 51 qty)           $    35,700 Child Welfare                          One-Time
                             Workstation ($1800 * 256 qty)           $   460,800 Child Welfare                          One-Time
                             Tablets($1036 * 22 qty)                 $    22,792 Administration                         One-Time
                             Personal Computers($1500 * 21 qty)      $    31,500 Ad ministration                        One-Time
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                             Chairs ($350 * 43 staff)                $    15,050 Ad ministration                        One-Time
                             Desk($600 * 43 staff)                   $    25,800 Ad ministration                        One-Time
                             Shredders($2500 * 1)                    $     2,500 Ad ministration                        One-Time
                             Tablets($1036 * 22 qty)                 $    22,792 Financial Services                     One-Time
                             Personal Computers($1500 * 40 qty)      $    60,000 Financial Services                     One-Time
                             Wyse Terminals($700 * 15 qty)           $    10,500 Financial Services                     One-Time
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                             Chairs($350 * 22 staff)                 $     7,700 Financial Services                     One-Time
                             Desk($600 * 22 staff)                   $    13,200 Financial Services                     One-Time
                             Workstation ($1800 * 55 staff)          $    99,000 Financial Services                     One-Time
                             Chairs ($350 * 40 staff)                $    14,000 Information Technology   CCWIS         One-Time
                             Desk($600 * 40 staff)                   $    24,000 Information Technology   CCWIS         One-Time
                             Personal Computers($1500 * 50)          $    75,000 Information Technology   CCWIS         One-Time
                             Laptop($1200 * 20)                      $    24,000 Information Technology   CCWIS         One-Time
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                             Tablet w/docking station ($1700 * 20)   $    34,000 Information Technology   CCWIS         One-Time
                             M FP's($4500 * 4)                       $    18,000 Information Technology   CCWIS         One-Time
                             Projectors($1500 * 5)                   $     7,500 Information Technology   CCWIS         One-Time
                             Mondopad 80"($18,000 * 1)               $    18,000 Information Technology   CCWIS         One-Time
                             Shredders($2500 * 5)                    $    12,500 Information Technology   CCWIS         One-Time
                             Document Imaging Equipment System       $   500,000 Information Technology   IT            One-Time
                             Monitors($300 * 4,000)                  $ 1,200,000 Information Technology   IT            One-Time
                                                                     $ 2,946,714
                                                                     EQUIPMENT
